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 5   JOSH SHANER and TERRY DIVITTORIO
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 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    OAKLAND DIVISION
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12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 MOTION OF THIRD PARTIES
                                                  WESTBRIDGE TECHNOLOGIES, JOSH
14               Plaintiffs,                      SHANER AND TERRY DIVITTORIO
                                                  FOR CLARIFICATION WITH RESPECT
15         v.                                     TO COURT’S ORDER RE
                                                  ADMINISTRATIVE MOTIONS [DKT. NO
16   NSO GROUP TECHNOLOGIES LIMITED               394]
     and Q CYBER TECHNOLOGIES LIMITED,
17                                                Date: November 7, 2024
                     Defendants.                  Time: 1:30 p.m.
18                                                Place: Courtroom 3, Ronald V. Dellums
                                                         Federal Building & U.S. Courthouse,
19                                                       1301 Clay Street, Oakland, California

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                                                  Action Filed: 10/29/2019
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 1          PLEASE TAKE NOTICE that on November 7, 2024, at 1:30 p.m., third parties

 2   Westbridge Technologies Inc. (“Westbridge”), and former Westbridge employees Josh Shaner and

 3   Terry DiVittorio (“Third Parties”) will bring on for hearing before the Honorable Phyllis J.

 4   Hamilton, United States District Judge, in the United States Courthouse, 1301 Clay Street,

 5   Courtroom 3, Oakland, California, a motion for clarification with respect to the Court’s Order re

 6   Administrative Motions (Dkt. No. 394).        The motion is based on the following Points and

 7   Authorities and the declaration of Matthew Dawson; the pleadings, papers, and records on file in

 8   this case; and such oral argument as may be presented.

 9                                    POINTS AND AUTHORITIES

10          On September 27, the Court granted Plaintiffs’ administrative motion to enlarge time to file

11   discovery-related motions.     (Order Re Administrative Motions [Dkt. No. 394] (“Order”)).

12   Plaintiffs’ motion [Dkt. No. 388] did not identify any alleged deficiencies in third parties’

13   document productions, nor did it mention anything about filing discovery motions against third

14   parties. (See, e.g., Dkt. No. 388 at 2:6-7 (“Plaintiffs are continuing to evaluate Defendants’

15   compliance with their discovery obligations” (emphasis added).) Indeed, as Plaintiffs’ unfiled reply

16   makes clear, their request for an extension was intended to ensure that they could file a motion for

17   sanctions against Defendants regarding the issues raised in their deficiency letter of September 12,

18   2024 (see Dkt. No. 392-1 at 2:1-7), none of which involved third-party discovery (see Dkt. No. 391

19   at 3:7-18).

20          The Court granted the motion, extending time to file motions to October 2, 2024, because:

21   “Given the sheer number of discovery-related disputes throughout the history of this case, the court

22   believes it would be advantageous to allow the parties to fully evaluate the opposing party’s

23   productions and to meet and confer to narrow disputes wherever possible.” (Order at 1:25-28.) The

24   Third Parties thus understand the Order to permit the parties a few additional days to file discovery

25   motions against each other, not against third parties.

26          This motion for clarification is required because Plaintiffs intend to file a letter motion to

27   compel against Westbridge, which they sent to Westbridge on October 1, 2024. Plaintiffs not only

28   could have briefed and filed such a motion much earlier, a nearly identical motion was fully briefed


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 1   by September 16, and Plaintiffs elected not to file it. On Saturday September 7, 2024, Plaintiffs

 2   sent their portion of a joint discovery dispute letter to Westbridge. (Declaration of Matthew H.

 3   Dawson (“Dawson Decl.”) ¶ 2.) Westbridge sent back its portion on Monday, September 16, 2024.

 4   (Id.) For reasons known only to Plaintiffs, they neither amended their argument and sent it back to

 5   Westbridge, nor did they file it as is, prior to the expiration of the discovery motion cutoff on

 6   September 20, 2024. (See id.).

 7              Only after the September 20, 2024, deadline had passed did Plaintiffs inform Westbridge

 8   that they wanted to confer further about the issues in the fully-briefed joint letter. (See id.) Counsel

 9   for the Third Parties then met and conferred with counsel for Plaintiffs on September 30, 2024,

10   including the Third Parties’ intent to seek clarification of the Court’s order, but no resolution was

11   reached. (Id. ¶ 3.)

12              The Third Parties have already been burdened enough by Plaintiffs’ subpoenas and

13   depositions.      They have produced over 2,000 documents (over 6,000 pages) in response to

14   Plaintiffs’ subpoenas, and have given up several days of their lives to sit for depositions. (See id.

15   ¶ 4.) The Third Parties should not be burdened further by having to oppose untimely discovery

16   motions, and they ask the Court to clarify that the Order was not intended to permit untimely

17   discovery motions against the Third Parties or any other third-party witness.

18              Moreover, as the Third Parties will explain in their portion of the joint letter brief that

19   Plaintiffs intend to file, the discovery motion Plaintiffs seek to file against Westbridge would be

20   futile. Westbridge has conducted a reasonable and diligent search and produced all documents in

21   its possession that it agreed to provide in response to the subpoena. Plaintiffs’ counsel apparently

22   believes that more emails between Defendants and Westbridge should exist. However, Defendants

23   and Westbridge communicated with each other via email very infrequently, but when they did,

24   those emails have been produced, and Plaintiffs used some of them at the depositions of the Third

25   Parties.

26    Dated: October 2, 2024                                 By: /s/ Matthew H. Dawson
                                                             MATTHEW H. DAWSON
27                                                           Attorneys for Third Parties Westbridge
28                                                           Technologies Inc., Josh Shaner and Terry
                                                             DiVittorio
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